NETTLES LAW FIRM

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Case 2:11-cv-01360-APG-CWH Document 214 Filed 08/13/15 Page 1 of 2

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Admitted pro hac vice

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

RONALD TAYLOR, et al., Case No. 2:11-cv-01360-APG-CWH

Plaintiffs,

vs.

MGM RESORTS INTERNATIONAL, et
al.,
Defendants.

 

STIPULATION AND ORDER FOR DISMISS WITH PREJUDICE

IT IS HEREBY STIPULATED AND AGREED to by the undersigned that the above

entitled matter be dismissed in its entirety, with prejudice, leaving no remaining issues or parties,

 

 
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NETTLES LAW FIRM

Case 2:11-cv-01360-APG-CWH Document 214 Filed 08/13/15 Page 2 of 2

 

  

 

 

 

 

 

 

 

| || each party to bear its own costs and attorney fees. There is currently no trial date for this matter.
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2 || [DATED this Js” day of August, 2015. DATED this | &” day of August, 2015.
: THE NETTLES LAW F WOOD SMITH HENNING & BERMAN
4
6 BRIAN D. NETTLES, ESQ. VICTORIA L. ERSOFF, ESQ.
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7 CHRISTIAN M. MORRIS, ESQ. KEITH E. SMITH, ESQ.
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ll Pennsylvania Bar No. 20574 Pro Hac Vice Attorneys for Defendant
12 1601 Walnut Street, Suite 707 Aria Resort & Casino, LLC
Philadelphia, PA 19102
13 Admitted Pro Hac Vice
Attorney for Plaintiff
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ORDER
18 IT IS SO ORDERED:
: Za
20 UNITED STATES DISTRICT JUDGE
2] Dated: August 13, 2015
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